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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


 KEWEENAW BAY INDIAN
 COMMUNITY, on its own behalf and as
 parens patriea for its members,

                 Plaintiff,
                                                                 Case No. 2:03-cv-170
 v.
                                                                 Honorable David W. McKeague
 ROBERT NAFTALY, et al.,

             Defendants.
 ___________________________/

                                                 OPINION

         Plaintiff, the Keweenaw Bay Indian Community (“KBIC”), brings this action against Robert

 Naftaly, chairperson of the Michigan State Tax Commission, Robert Lupi, member of the Michigan

 State Tax Commission, Doug Roberts, member of the Michigan State Tax Commission, Dennis

 Platte, Executive Secretary of the Michigan State Tax Commission, L’Anse Township, Baraga

 Township, and Matthew Arko, Assessor of L’Anse and Baraga Townships. Plaintiff seeks

 declaratory relief prohibiting the collection of the State of Michigan’s ad valorem property tax on

 lands held in fee simple by KBIC or its members.1 Pending before this Court are defendants’ and

 plaintiff’s motions for summary judgment. Having duly considered the parties’ briefs, arguments

 and exhibits, for the reasons that follow, the Court will deny defendants’ motion for summary

 judgment and grant plaintiff’s motion for summary judgment.




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          Plaintiff initially sought injunctive relief, but, as the Court previously noted in its Sept.
 27, 2004 Opinion denying defendants’ motion to dismiss, the parties reached a stipulation as to
 the issues involved in that motion and the Court need not address it further.
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                                              I. FACTS

        The Court has already set forth many of the facts applicable to the instant motion in its

 September 27, 2004 Opinion denying defendants’ motion to dismiss and incorporates such facts by

 reference.2 In addition, the Court notes that the following facts are relevant to the resolution of the

 pending motions for summary judgment.

        KBIC is a federally-recognized Indian tribal government organized and operating under a

 Constitution and bylaws approved by the Secretary of the Interior on December 17, 1936, pursuant

 to the Indian Reorganization Act of 1934. 25 U.S.C. § 476. Pursuant to the Treaty with the

 Chippewa at La Pointe, Oct. 4, 1842, 7 Stat. 591 (“1842 Treaty”), the Chippewa of Lake Superior

 and the Mississippi ceded the western half of Michigan’s Upper Peninsula as well as portions of

 northern Wisconsin to the United States.

        Most of the Chippewa continued to live within the ceded area and Article II of the 1842

 Treaty guaranteed them the right to hunt within the ceded territory until required to remove by the

 President. 1842 Treaty, 7 Stat. 591. By the late 1840's, due to United States surveys of the land in

 the area, the Chippewa became afraid that the President would force them to remove from their

 residences. In February 1850, President Zachary Taylor issued a removal order, but that order was

 later abandoned. The Chippewa sent letters to the President asking for the creation of permanent

 reservations and even adopted American-style names and clothing to convince the United States


        2
           The Court notes that some of the facts pertinent to this case were also found by the court
 in Keweenaw Bay Indian Community v. Michigan, 784 F. Supp. 418 (W.D. Mich. 1991); an
 earlier case interpreting the 1854 Treaty. In Keweenaw Bay, the court addressed the extent of the
 Reservation boundaries and held that the boundaries of the reservation followed the exterior lines
 of townships and fractional townships described in the treaty and did not exclude lands that had
 been sold or otherwise disposed of by the government before the effective date of the treaty
 establishing the reservation.

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 government of their advanced state of civilization and thus the lack of any need for removal.

 According to one Indian agent at the time, removal was “the great terror of [the Indians’] lives and

 I hazard nothing in saying they will sooner submit to extermination than comply with it.” Keweenaw

 Bay, 784 F. Supp. 418 (quoting Henry C. Gilbert). By 1854, the United States, under the leadership

 of Indian Commissioner George ManyPenny, abandoned the removal policy and substituted a policy

 of creating reservations for Indians near their existing habitations. Commissioner ManyPenny

 instructed United States officials to negotiate a new treaty with the Chippewa for the cession of land

 in Minnesota and Wisconsin.

         A treaty was eventually signed on September 30, 1854. KBIC is the successor-in-interest of

 the L’Anse and Ontonagon bands of Chippewa Indians, signatories to the Treaty with the Chippewa

 at La Pointe, September 30, 1854, 10 Stat. 1109, (“1854 Treaty”). The Indians desired permanent

 homes in their present locations and the 1854 Treaty satisfied this desire by creating permanent

 homes for them on reservations. See United States v. Thomas, 151 U.S. 577, 582, 14 S. Ct. 426, 38

 L. Ed. 276 (1894) (1854 Treaty created “permanent reservations” for the Chippewa). Article II of

 the 1854 Treaty also provided that 80 acres be patented to each mixed blood Chippewa over twenty-

 one years of age. 1854 Treaty, 10 Stat. 1109. All land, sold or unsold, within the exterior boundaries

 of the Reservation as described in Article II of the 1854 Treaty, formed part of the KBIC reservation

 and constituted Indian Country within the meaning of 18 U.S.C. § 1151. Keweenaw Bay, 784 F.

 Supp. 418, 428.

         Two other articles of the 1854 Treaty are important to the resolution of the instant motions.

 First, Article III provides in part that:

                 ... the President may, from time to time, at his discretion, cause the
                 whole [reservation] to be surveyed, and may assign to each head of

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                a family or single person over twenty-one years of age, eighty acres
                of land for his or their separate use; and he may, at his discretion, as
                fast as the occupants become capable of transacting their own affairs,
                issue patents therefore to such occupants, with such restrictions of the
                power of alienation as he may see fit to impose. And he may also, at
                his discretion, make rules and regulations, respecting the disposition
                of the lands in case of the death of a family, or single person
                occupying the same, or in case of its abandonment by them.

 1854 Treaty, 10 Stat. 1109. Second, Article XI provides that:

                All annuity payments to the Chippewas of Lake Superior, shall
                hereafter be made at L’Anse, La Pointe, Grand Portage, and on the St.
                Louis River; and the Indians shall not be required to remove from the
                homes hereby set apart for them. And such of them as reside in the
                territory hereby ceded, shall have the right to hunt and fish therein,
                until otherwise ordered by the President.

 Id. The Reservation Fee Lands at issue in this case consist of the sold lands that were at issue in

 Keweenaw Bay, 784 F. Supp. 418, 428, as well as lands that were allotted or intended for allotment

 to the Chippewa pursuant to Article III of the 1854 Treaty. The Reservation consists of 59,840 acres

 located near the villages of L’Anse and Baraga. 6,223 acres in the reservation are held in trust by

 the United States for the benefit of KBIC, 7,912 acres are allotments held by KBIC members with

 restrictions upon alienation, 2,987 acres are owned in fee simple by KBIC and 688 acres are owned

 in fee simple by KBIC members. Nonmembers of the Community own the remaining 42,030 acres

 within the Reservation. After the execution of the 1854 Treaty, pursuant to Article III of the 1854

 Treaty, the President assigned parcels of Reservation land to individual Chippewa Indians. The

 assignments at issue in this matter were made in the form of fee simple patents. Additionally when

 restrictions upon alienation were removed from certain restricted patents, such removal was done

 pursuant to the 1854 Treaty.

        Defendants argue that they are entitled to summary judgment because Congress explicitly


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 authorized the alienability of the land at issue in this case, and that the land is taxable under Cass

 County, Minnesota, et al. v. Leech Lake Band of Chippewa Indians, 524 U.S. 103, 118 S. Ct. 1904,

 141 L. Ed. 2d 90 (1998). Plaintiff argues that Congress has not authorized the alienability of the land

 at issue here, and further, that the unambiguous language of Article XI of the 1854 Treaty states that

 the Indians shall not be required, under any circumstances, to remove from the reservation. Plaintiff

 also asserts it is entitled to summary judgment because the land is not taxable under the reasoning

 expressed in Cass County, or an extension thereof.

                                            II. ANALYSIS

                                       A. Standard of Review
        Summary judgment is proper if the non-moving party has failed to raise a genuine issue of

 material fact as to any element of the claim, and the moving party is thereby entitled to judgment as

 a matter of law. Fed. R. Civ. P. 56(c). The facts must be construed most favorably to the non-

 moving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 106 S. Ct.

 1348, 89 L. Ed. 2d 538 (1986). The central issue is “whether the evidence presents a sufficient

 disagreement to require submission to a jury or whether it is so one-sided that one party must prevail

 as a matter of law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52, 106 S. Ct. 2505, 91 L.

 Ed. 2d 202 (1986). The non-moving party must come forth with more than a “mere scintilla” of

 evidence to create a genuine issue of material fact. Anderson, 477 U.S. at 252, 106 S. Ct. 2505.

        The party opposing summary judgment cannot rest on its pleadings or merely reassert its

 previous allegations. It is not sufficient "simply [to] show that there is some metaphysical doubt

 as to the material facts." Matsushita, 475 U.S. at 586, 106 S. Ct. 1348. Ultimately, this Court

 must determine "whether the evidence presents a sufficient disagreement to require submission to



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 a jury or whether it is so one-sided that one party must prevail as a matter of law." Anderson,

 477 U.S. at 251-52, 106 S. Ct. 2505.

           B. The Community is Entitled to Summary Judgment on Counts I and II.

        This case poses a legal question of whether the Supreme Court’s decision in Cass County,

 524 U.S. 103, 118 S. Ct. 1904, should be extended to cases involving alienation of land that occurred

 pursuant to a treaty and without any Congressional statute authorizing such alienation. It also raises

 questions of whether Congress passed such a statute, and whether language included in the 1854

 Treaty precludes taxation of the land at issue in this case.

        In Count I of its complaint, KBIC claims that defendants cannot enforce the Michigan

 General Property Tax Act (“Act”) against the Reservation Fee Lands because states and local

 governments are precluded from imposing taxes upon Indian-owned lands within an Indian

 reservation absent an unmistakably clear authorization by Congress. In Count II of its complaint,

 KBIC claims that defendants cannot enforce the Act against the Reservation Fee Lands because such

 enforcement would violate the provisions of the 1854 Treaty, that set apart the Reservation as a

 permanent home for KBIC and its members. The Court will first address the parties’ arguments

 related to Count II, which involves interpreting the 1854 Treaty, and will then address those

 arguments related to Count I.

     1. Plaintiff is Entitled to Summary Judgement on Count II Because the 1854 Treaty

                  Prohibits Involuntary Removal from the Reservation Lands.

        Native American treaties must be liberally construed in favor of Native Americans. State of

 Washington v. Washington State Commercial Passenger Fishing Vessel Ass'n, 443 U.S. 658, 676,

 99 S. Ct. 3055, 61 L. Ed. 2d 823 (1979); Antoine v. Washington, 420 U.S. 194, 95 S. Ct. 944, 43 L.


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 Ed. 2d 129 (1975); Choctaw Nation of Indians v. United States, 318 U.S. 423, 432, 63 S. Ct. 672,

 87 L. Ed. 877 (1943). The Treaty is governed by the intent of the parties, which consist of the Indian

 tribal signatories and the United States Government. Mille Lacs Band of Chippewa Indians, 526

 U.S. 172, 206, 119 S. Ct. 1187.

        Ambiguous words and phrases in Indian treaties have been resolved in favor of the Indians.

 Alaska Pacific Fisheries v. United States, 248 U.S. 78, 89, 39 S. Ct. 40, 42, 63 L. Ed. 138 (1918);

 Winters v. United States, 207 U.S. 564, 576-77, 28 S. Ct. 207, 211-12, 52 L. Ed. 340 (1908); Jones

 v. Meehan, 175 U.S. 1, 11, 20 S. Ct. 1 (1899) (stating that an Indian treaty “must be construed, not

 according to the technical meaning of its words to learned lawyers, but in the sense in which they

 would naturally be understood by the Indians.”). This rule is particularly applicable if the language

 of a treaty supports two inferences, one favoring the Indians and one the Government. Lac Courte

 Oreilles Band of Lake Superior Chippewa Indians v. Voigt, 700 F.2d 341, 350 (7th Cir. 1983)

 (citing Winters, 207 U.S. at 575-77, 28 S. Ct. 207) (stating that “it cannot be supposed that the

 Indians were alert to exclude by formal words every inference which might militate against or defeat

 the declared purpose of themselves and the government, even if it could be supposed that they had

 the intelligence to foresee the ‘double sense’ which might some time be urged against them.”).

        The Supreme Court noted in In re Kansas Indians, 72 U.S. 737, 760 (1866), that “taxes must

 be first levied, and they cannot be realized without the power of sale and forfeiture, in case of

 non-payment.” Where federal law precludes the sale of land for taxes, it also precludes the taxes

 themselves. See In re New York Indians, 72 U.S. 761 (1866) (striking down a New York statute that

 imposed property taxes on an Indian reservation but purported to preserve the Indians’ continued

 right to occupy such lands). Generally, tax exemptions are not to be presumed, and statutes


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 conferring them are to be strictly construed, but the Supreme Court held that “the contrary is the rule

 to be applied to tax exemptions secured to the Indians between them and the national government.”

 Carpenter v. Shaw, 280 U.S. 363, 366, 50 S. Ct. 121, 74 Led. 478 (1930).

        The impetus for the 1854 Treaty was H.R. 293, 33d Cong., May 3, 1854, which contemplated

 that Chippewa heads of households would be granted eighty-acre parcels of land that would be

 exempt from taxation in return for cessions of Chippewa land in Minnesota and Wisconsin. The bill

 never made it out of committee, but a similar bill was passed in December of 1854. See Act of Dec.

 19, 1854, 10 Stat. 598 (1854). The bill states:

                Fourth. The laws of the United States and the Territory of Minnesota
                shall be extended over the Chippewa territory in Minnesota
                whenever the same may be ceded, and the same shall cease to be
                “Indian country,” except that the lands reserved to said Indians, or
                other property owned by them, shall be exempt from taxation and
                execution. . .

 Id. Both parties argue that this bill, passed shortly after the 1854 Treaty was signed, supports their

 interpretation of the “removal” language in Article XI. 3

        The legislative history of the Act indicates that there was some contemplation that the Act

 would apply to land in Michigan. See Cong. Globe, 33d Cong., 1st Sess. 1334 (May 30, 1854). A

 provision in the Congressional Globe notes that Senator Sebastian, from the Committee on Indian

 affairs, addressed issues related to the Chippewa and states:

                He also, from the [Committee on Indian affairs], to whom was
                referred a petition of the Lutheran Synod of Missouri, Ohio, and other
                States, praying that a grant of land may be made to the head of every
                family of Chippewa Indians residing in Michigan, and an


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           Indeed, the Supreme Court, in Fee v. Brown, 162 U.S. 602, 610, 16 S. Ct. 875, 40 L. Ed.
 1086 (1896), stated, that although subsequent to the 1854 Treaty, the Treaty should be construed
 in light of the Act.

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                 appropriation for the support of schools among said Indians, asked to
                 be discharged from its further consideration, on the ground that the
                 prayer of the petition will be attained in the contemplated treaty with
                 the Chippewa Indians; which was agreed to.

 Cong. Globe, 33d Cong., 1st Sess. 1335. The Act, as it was enacted, mentions nothing

 about land in Michigan.

         The Dec. 19, 1854 Act does not dictate the outcome of this case. While there is some

 mention of Michigan land in the legislative history, Congress could have explicitly mentioned the

 Reservation land at issue here in the statute but chose not to. Furthermore, contrary to defendants’

 suggestion, the fact that Congress included language prohibiting taxation on the land in Minnesota

 and not Michigan does not resolve the issues presented here in their favor.

         Several treaties signed between other Indian tribes and the United States near the time of the

 1854 Treaty contained language that exempted reservation lands from levy, sale or forfeiture until

 the state legislature removed the restrictions and Congress passed a statute consenting thereto.

 See Treaty with the Oto & Missouri, Mar. 15, 1854, Art. 6, 10 Stat. 1038; Treaty with the Omaha,

 Mar. 16, 1854, Art. 6, 10 Stat. 1043; Treaty with the Miami, June 5, 1854, Art. 2, 10 Stat. 1093;

 Treaty with the Umpqua & Kalapuya, Nov. 29, 1854, Art. 5, 10 Stat. 1125; Treaty with the

 Chippewa at Washington, Feb. 22, 1855, Art. 2, 10 Stat. 1165. The treaty at issue in Goudy v.

 Meath, 203 U.S. 146, 27 S. Ct. 48, 51 L. Ed. 130 (1906)), contained a clause that specifically

 contemplated the allotted land eventually becoming taxable. The treaty addressed in Goudy allowed

 the President to issue a patent for any allotted land, and stated that the land “shall be exempt from

 levy, sale, or forfeiture, which conditions shall continue in force until a state constitution, embracing

 such lands within its boundaries, shall have been formed, and the legislature of the state shall remove

 the restrictions.”   203 U.S. 146, 27 S. Ct. 48. In Voigt, 700 F.2d at 364, the Seventh Circuit

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 construed the same removal language as was included in the 1854 Treaty as creating a right not to

 be removed from land set apart for Indians except in cases of “misbehavior.” Furthermore, in Starr

 v. Long Jim, 227 U.S. 613, 33 S. Ct. 358, 57 L. Ed. 670 (1913), the Court dealt with a treaty that

 included language that stated the Indians “shall not be required to remove to the Colville Reservation

 until Congress does make such an appropriation.” While the parties to the 1854 Treaty could have

 included specific language in the treaty, stating that the Indians shall not be removed to a certain

 place, there is no such language in the 1854 Treaty. Similarly, there is no language in the 1854

 Treaty at issue in this case that purports to make land taxable after the state legislature removes

 restrictions on levy sale and forfeiture.

        Plaintiff argues that the removal language in Article XI of the 1854 Treaty applies to any

 removal whatsoever, and that the land is not taxable under In re Kansas Indians, 72 U.S. 737 and

 In re New York Indians, 72 U.S. 761. Defendants argue that the words “Indians” and “homes,” as

 used in Article XI indicate the “communal nature of the right [not to be removed from the

 reservation lands.]” Def’s Br. In Opp’n to Pl’s Mot. Summ. J. at 12. The words “set apart” refer to

 Article I where the United States agreed to create the L’Anse reservation. Id. According to

 defendants, these words combined, mean that the United States will not force the Community to

 leave the reservation because of the removal order issued in 1850. See Dr. Anthony Gulig, A history

 of the Chippewa Treaty of 1854 with Special Reference to the Chippewas’ Understanding of the

 Treaty, the Creation of Reservations, and Allotment Provision of the Treaty, 24 & 44 (2004).4


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          Defendants also rely on a report by Dr. Emily Greenwald, in support of their motion for
 summary judgment. See Dr. Emily Grreenwald, The Administration of Indian Allotments at
 L’Anse, 9-19 (2004). The only conclusion that Dr. Greenwald reaches that arguably lends
 support to their claims is that “[b]y 1919, if not earlier, Indians at L’Anse understood that their
 lands became taxable when restrictions were removed.” However, this conclusion does not

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        Defendants argue that Dr. Charles Cleland’s report (Plaintiff’s expert) and congressional

 legislation passed after the 1854 Treaty was signed establishes that the removal language in the 1854

 Treaty only applied to a forced removal to Minnesota. During the 1840's and 1850's the Chippewa

 were afraid of such removal. Dr. Charles E. Cleland, A Treaty History Relating to Land Ownership

 and Taxation on the Keweenaw Bay Indian Reservation, Sept. 27, 2004, 42, 63. (Pl’s Ex. 2.)

 According to Dr. Cleland, “Article [XI] solemnly guarantees that the signatory band would never be

 required involuntary to leave or give up their reservations created by the treaty for any reason.”

 Cleland Report at 69. There is no record that anyone attempted to explain taxation to the Indians or

 that they thought they would have to pay money each year to keep their homes. Id. at 104. Dr.

 Cleland further notes that the process of assessing tax liens on the reservation lands would be

 “fundamentally contrary to the purpose of the treaty, that is, to provide secure and permanent homes

 for the Ojibwe bands.” Id. at 70.

        The 1854 Treaty does not mention property taxes at all. Dr. Cleland notes that the Chippewa,

 in signing the 1854 Treaty, understood that they had acquired permanent reservations and “would

 not be forced to leave the reservations.” Cleland report at 75 (citing Nichols, John. D. 1988

 Statement made by the Indians: A Bilingual Petition of the Chippewa of Lake Superior, 1864.

 London: Ontario Center for Research and Teaching of Canadian Native Languages). Dr. Cleland

 further notes that the concept of taxation was foreign to the Indians and that if they had understood




 enlighten the Court as to what the Indians may have believed at the time the Treaty was signed,
 and therefore, the Court assigns little weight to the conclusions reached in Dr. Greenwald’s
 report.

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 that they had to pay money each year in order to keep their homes, they would not have signed the

 treaty. Id at 108, 112.5

        Whether interpreting the removal language based on its plain meaning or a liberal

 understanding of what the Indian signatories would have believed it meant in the 1850's, the result

 is the same. The “removal” language of Article XI is, at the very least, ambiguous as to its scope.

 The 1854 Treaty does not qualify, limit or condition the right against removal in any way. Even if

 the most pronounced fear of the Indians at the time of signing the 1854 Treaty was forced removal

 to Minnesota it also appears that the Indians contemplated the establishment of a permanent

 reservation. The removal language in the 1854 Treaty supports at least two inferences, one favoring

 the Indians, and one favoring the government. Following the established rules of Indian treaty

 interpretation, the Court cannot say that the Indian signatories to the 1854 Treaty would have

 contemplated the future sale of their lands due to non-payment of taxes. See Mille Lacs Band of

 Chippewa Indians, 526 U.S. 172, 200; Winters, 207 U.S. at 575-77.




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           Defendants’ expert, Dr. Anthony G. Gulig, also prepared a report with reference to the
 1854 Treaty. Dr. Anthony G. Gulig, A History of the Chippewa Treaty of 1854 with Special
 Reference to the Chippewas’ Understanding of the Treaty, the Creation of Reservations, and
 Allotment Provisions of the Treaty, Dec. 5, 2004. Dr. Gulig reaches the conclusion that the
 Indians knew the “economic value and liability” of the reservation land and individual land they
 acquired through the 1854 Treaty. Id. Dr. Gulig also asserts that there was no need for special
 exemption from taxation in the 1854 Treaty because the Indians wanted to participate as citizens
 of the state and taxation was “an important part of that citizen participation.”
         While Dr. Gulig’s conclusions conflicts with the conclusions of Dr. Cleland in some
 respects, the Court notes that Dr. Gulig’s report focuses more on what was not in the 1854 Treaty
 than on the meaning of the “removal” language. The Court will not presume that the Indian
 signatories desired to subject themselves to the potential loss of their land through a tax sale
 simply because it was an “important part” of citizen participation, when all other indications
 point to the opposite conclusion.

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          Defendants’ interpretation of the 1854 Treaty is too narrow. It defies logic to believe that

 the Indians would have signed a treaty ceding over seven million acres to the United States, knowing

 that they could lose the land they kept as a reservation the following year, due to non-payment of

 taxes. Furthermore, under defendants’ interpretation of the Treaty, each individual land owner could

 be dispossessed of his or her land without violating Article XI, as long as the entire community was

 not removed all at once. A liberal reading of the removal language in the 1854 Treaty, and giving

 the Indians the benefit of the assumption that they were not alert to exclude every inference which

 might defeat the declared purpose of the 1854 Treaty, Winters v. United States, 207 U.S. 564, leads

 the Court to the conclusion that the removal language must be construed more broadly than to

 prevent removal to Minnesota. Therefore, because the Court finds that the removal language in the

 1854 Treaty includes removal due to a tax sale for non-payment of ad valorem property taxes, the

 land at issue here is not subject to the Act and plaintiff is entitled to summary judgment on Count

 II.

       2. Plaintiff is Entitled to Summary Judgement on Count I Because Congress has not

  Manifested an Unmistakably Clear Intent to Render Such Land Subject to State Taxation.

          Even assuming, arguendo, that the removal language in the 1854 Treaty should not be

 interpreted as plaintiff believes it should be, plaintiff is still entitled to summary judgment on Count

 I. Indian reservation land is generally exempt from state and local taxation absent cession of

 jurisdiction or other federal statute permitting it. Cass County, 524 U.S. 103, 110, 118 S. Ct. 1904;

 see e.g., County of Yakima v. Confederated Tribes and Bands of the Yakima Indian Nation, 502 U.S.

 251, 254, 112 S. Ct. 683, 116 L. Ed. 2d 687 (1992) (holding that the General Allotment Act

 (“GAA”) permitted Yakima County to impose ad valorem taxes on reservation land patented in fee


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 under the GAA). In Cass County, the Supreme Court held that “when Congress makes reservation

 lands freely alienable, it is unmistakably clear that Congress intends that land to be taxable by state

 and local governments, unless a contrary intent is clearly manifested.” Cass County, 524 U.S. at

 113, 118 S. Ct. 1904 (the Nelson Act of 1889, 25 Stat. 642 (1889)); Yakima, 502 U.S. at 268, 112

 S. Ct. 683 (the GAA of 1887, 24 Stat. 388 (1887)); Goudy v. Meath, 203 U.S. 146, 147, 27 S. Ct.

 48, 51 L. Ed. 130 (1906) (Act of Mar. 3, 1893, ch. 209, 27 Stat. 612, 633 (1893)). None of the

 aforementioned Supreme Court decisions expressly apply to Indian reservation lands made alienable

 pursuant to a treaty, which is not an act of Congress, but rather, a contract between sovereign nations.

 See Washington State Commercial Passenger Fishing Vessel Assoc., 443 U.S. 658, 675, 99 S. Ct.

 3055.

         There is no dispute in this case that the land at issue here is in fact alienable.6 There is a

 question, however, of whether Congress authorized, made or rendered such lands freely alienable.

 Defendants argue that Congress made the land alienable, and therefore taxable, under Cass County,

 when it stated:

                   [t]hat wherever, in any law or treaty or in any patent issued to Indian
                   allottees for land in severalty pursuant to such law or treaty, there
                   appears a provision to the effect that the lands so allotted can not be
                   alienated without the consent of the President of the United States,
                   the Secretary of the Interior shall have full power and authority to
                   consent to or approve of the alienation of such allotments.

 Act of Sept. 21, 1922, 42 Stat. 991, 995 (“1922 Statute”). Defendants argue, when it passed the 1922

 Statute, Congress intended that there would be no question regarding titles for land properly allotted

 and alienated under the 1854 Treaty in the past or future and that the 1922 Statute shows the



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             Plaintiff conceded this point at oral argument on January 31, 2005.

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 necessary congressional intent to make the land at issue here alienable and therefore taxable. See

 H.R. Rep. No. 67-637 at 11 (1922); S. Rep. 67-551 at 8-9.

         While Congress can make Indian reservation land freely alienable, and therefore taxable

 under Cass County, it does not appear that Congress has done so with regard to the land at issue in

 this case. In both Cass County and Yakima, Congress made Indian Reservation land freely alienable

 by specifically addressing the reservation land at issue in each case. In Cass County, the Court noted

 that Congress addressed the alienability of reservation land at issue in sections five and six of the

 Nelson Act when it removed the land from federal protection. 524 U.S. 103, 118 S. Ct. 1904; Nelson

 Act of 1889, 25 Stat. 642. In Yakima, the Court noted that the GAA and the Burke Act Proviso

 clearly manifested Congressional intent to allow taxation on the Yakima reservation lands because

 it expressly addressed the taxability of fee-patented land. 502 U.S. 251, 112 S. Ct. 683; General

 Allotment Act, 24 Stat. 388; Burke Act Proviso, 34 Stat. 182, 25 U.S.C. § 349 (1906).

         The 1922 Statute does not remove land from federal protection, make land alienable, allot

 Indian reservation land or address the taxability of any such lands. Instead, as plaintiff argues, the

 statute appears to be more of an “administrative housekeeping measure,” than an act that was

 intended to abrogate or change rights under the 1854 Treaty or address the alienability of such land.

 The legislative history of the 1922 Statute confirms this point. See H.R. Rep. No. 67-637, at 11

 (1922); S. Rep. No. 67-551, at 8-9 (noting that the bill serves to clarify title issues and confirm that

 the Secretary of the Interior had the authority to act for the President in these matters). A letter from

 the Secretary of the Interior, included in the legislative reports explains:

                 It has been suggested, however, that abstracters and possibly others
                 concerned in seeing that indefeasible titles are obtained prefer
                 something more definite to which they can point as specific evidence
                 of the authority now believed to exist in the Secretary of the Interior

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                 to remove the restrictions in those cases where the original law or
                 treaty under which the allotments were made direct that alienation can
                 not be had without the consent of the President.

 Id. at 12; Id. at 9-10. Furthermore, a later opinion of the Solicitor General described the 1922 Statute

 as a clarification of the Secretary of the Interior’s existing powers rather than a new grant of

 authority:

                 [T]he act of September 21, 1922 (42 Stat. 994, 995, 25 U.S.C. sec.
                 392), expressly authorized the Secretary of the Interior to permit the
                 alienation of allotments which under any law or treaty could be
                 alienated only with the consent of the President. But at least in this
                 particular instance the legislative history establishes conclusively that
                 the purpose of the statute was merely to allay the traditional anxiety
                 of conveyancers.

 58 Interior Dec. 499, 513 n. 25, 1943 WL 4350, (Pl’s Ex. 11).

         The 1922 Statute addressed the alienability of land to the extent that it addressed the authority

 of the Secretary of the Interior to act on behalf of the President. However, the words used in the

 statute have nothing to do with the alienability of the reservation land at issue in this case.

 Therefore, because defendants have not and it appears cannot show that there is a Congressional act

 that made the land at issue here freely alienable, the Court finds that the land is not taxable under

 Cass County.7

         Defendants further state that the 1854 Treaty became the supreme law of the land after the

 Senate advised and consented to the 1854 Treaty, Foster v. Neilson, 27 U.S. 253, 314-15 (1829), and



        7
           The Court is well aware that Congress has the power to address the alienability of the
 land at issue in this case. If Congress had addressed the alienability of the Reservation lands at
 issue here, but not the taxability, the principle announced by the Supreme Court in Cass County
 would “fill in the blanks,” so to speak, and dictate that the land be taxable (unless Congress
 manifests a clear intention to the contrary). Such is not the case here.


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 that ratification of the 1854 Treaty showed the necessary “congressional” intent to make the lands

 alienable and therefore taxable.8 Defendants assert that the ratification of the 1854 Treaty essentially

 amounted to an act of the legislature and manifested the requisite Congressional intent to make the

 land alienable and therefore taxable. The Supreme Court someday may hold that ratification of a

 treaty is equivalent to an Act of Congress, and that land allotted and alienated pursuant to a treaty,

 as opposed to an act of Congress is taxable. However, the Supreme Court has not embraced this

 proposition at this time. Anticipating the direction in which the Supreme Court will direct the law

 may indeed be an exciting proposition, but it is not the proper role for this Court. The Court,

 therefore, rejects defendants’ argument that the principles announced in Cass County should be

 extended to this case, where there is no congressional act addressing the alienability of land allotted

 under the 1854 Treaty. The two legal questions presented by Count I are properly resolved in

 plaintiff’s favor and lead the Court to the conclusion that the land at issue here is not taxable.

 Therefore, the Court finds that there are no genuine issues of material fact and will grant summary

 judgment in plaintiff’s favor on Count I as well.




        8
           Defendants argue that the Second Circuit’s opinion in Thompson v. County of Franklin,
 314 F.3d 79 (2d Cir. 2002), supports their position that land allotted under a treaty which became
 freely alienable is subject to state ad valorem taxation. Because the Court declines to extend
 Cass County to facts of this case, the Court finds the reasoning expressed in Thompson, a case
 without a majority opinion, unpersuasive.

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                                          III. CONCLUSION

         Applying the rules of Indian Treaty interpretation, following Supreme Court precedent as it

 stands today, and noting that the questions involved here essentially involve legal determinations,

 the Court finds that there are no genuine issues of material fact in this case, and plaintiff is entitled

 to Judgment as a Matter of Law pursuant to Fed. R. Civ. P. 56.

       An order consistent with this opinion shall issue forthwith.



Dated: May 27, 2005                                       /s/ David W. McKeague
                                                         DAVID W. McKEAGUE
                                                         UNITED STATES DISTRICT JUDGE




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